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                                                                                            2016 Jun-21 AM 10:40
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

                               )
                               )
In Re: Community Health )           Master File No.
 Systems, Inc.                 )    15-CV-222-KOB
Customer Security Data         )
Breach Litigation              )
(MDL 2595)                     )
               and             )
                               )
ashley veciana,                )
individually and on behalf )
of others similarly            )    Case No.:
situated; and as Parent        )    2:15-cv-279-kob
and Natural Guardian of        )
M.V., a minor,                 )
                               )
               Plaintiff       )
v.                             )
                               )
Community health sys.,         )
Inc., et. al.                  )This document relates only to
                               )    Case No. 15-CV-279-KOB
                               )
                               )
__________________________________________________________________

                                           ORDER

       This matter is before the court on Plaintiff Ashley Veciana’s “Notice of Voluntary

Dismissal,” (doc. 15) filed in one of the cases consolidated in this MDL, Veciana v. Community

Health Sys., Inc, Case No., 2:15-CV-279-KOB.
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       The court first notes that the attempt to dismiss this case unilaterally pursuant to Rule

41(a)(1)(A)(i) is not well taken. The Veciana case has been transferred to this court and

consolidated into MDL 2595. While, as Plaintiffs note, no Answer has yet been filed in 15-279,

a court order stayed the underlying cases and provided that no pleadings shall be filed in them.

(CMO No. 1, doc. 3, at 4 in 15-222; and doc. 14, at 4 in 15-279). Further, the court has ruled

that, for the purposes of pretrial proceedings, the unified/Master Complaint shall be the operative

complaint and shall supersede all other complaints. (Doc. 14, at 6 in 15-222). Although the

Defendants have not filed an Answer in 15-279, and indeed, could not do so during the stay,

proceedings in the MDL consolidated action, including Ms. Veciana’s claims, have proceeded

well past the initial stages and have encompassed dispositive motions, hearings, and extensive

briefing. Allowing a Plaintiff to unilaterally dismiss claims without court involvement could

vitiate all of that progress and undermine the MDL process. See, e.g., In re Oil Spill by the Oil

Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010, 2011 WL 1464908, *4-5

(E.D. La. Apr. 15, 2011); In re Zicam Cold Remedy Marketing Sales Practices & Prod. Liab.

Litig., 2010 WL 3402490, at *2 (D. Ariz. Aug. 26, 2010) (explaining that Rule 41(a)(1)(A) is

subject to 42 U.S.C. § 1407 and applying that rule in the MDL process could jeopardize that

process by the unilateral action of the parties).

       To protect the integrity of the MDL process, the court FINDS that any request for

dismissal of any underlying suit SHALL be brought pursuant to Rule 41(a)(2) and accomplished

by court order. Accordingly, the court STRIKES the “Notice of Voluntary Dismissal” as

inappropriate and DIRECTS the Plaintiffs to file any request for voluntary dismissal pursuant to

Rule 41(a)(2).


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       That said, the court welcomes the admirable goal of cleaning up and streamlining the

MDL by dismissal of duplicate claims asserted by the same Plaintiffs in more than one

underlying suit. However, the Plaintiffs in this case must accomplish that goal by motion

pursuant to Rule 41(a)(2), not by Notice or Stipulation pursuant to Rule 41(a)(1).

       The second thing that gives the court pause is the fact that Ms. Veciana’s “Notice” does

not refer to the claims on behalf of her minor son. The Veciana Complaint states that Ashley

Veciana brings claims not only on behalf of herself and all others similarly situated but also

brings claims as “Parent and Natural Guardian of M.V., a minor.” (Doc. 1 in 15-279). Her

“notice” failed to advise the court that the effect of dismissing the lawsuit would be the dismissal

not only of her own claims but also claims she brought on behalf of her minor son, and the

heading on the “notice” listing the Plaintiff omits the phrase “and as Parent and Natural Guardian

of M.V., a minor” contained in the heading of her Complaint. The court recognizes that Ashley

Veciana remains a Plaintiff in McNutt v. Community Health Sys., Inc., Case No. 2:16-CV-602-

KOB (McNutt II), originally filed in Tennessee in March of 2016 and subsequently transferred to

this court and consolidated in this MDL. However, the paragraph regarding Ashley Veciana in

McNutt II does not state that the data breach involved her son’s confidential information and

does not state that Ms. Veciana is bringing claims on his behalf as parent and guardian.

Accordingly, if the court dismisses the Veciana case, it will be dismissing claims brought on

behalf of minor M.V. that are not currently encompassed elsewhere in the MDL.

       If Ms. Veciana does wish to proceed with dismissal of the claims of the Veciana suit, 15-

CV-279, she should file a motion not only requesting that dismissal but also specifically

advising the court whether she is requesting dismissal of claims that she brought on behalf of


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M.V., a minor. If she does wish for the minor’s claims to be dismissed, she shall provide the

court with authority supporting the dismissal of such claims based on the bare motion of the

parent or guardian without information about why dismissal is in the best interests of the child,

and without a hearing to address the best interests of the child.



       DONE and ORDERED this 21st day of June, 2016.


                                                      ____________________________________
                                                      KARON OWEN BOWDRE
                                                      CHIEF UNITED STATES DISTRICT JUDGE




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